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                                                                    December 1, 2020

        BY: ECF
        Honorable James L. Cott
        United States District Court
        Southern District of New York
        500 Pearl Street
        New York, New York 10007

                       Re: Kaye v. NYC Health & Hospitals Corp. et al., 18-cv-12137 (JPC) (JLC)


        Dear Judge Magistrate Judge Cott:

                       As directed by Your Honor, I write to briefly respond to Plaintiff’s letter motion
        for discovery. See Dkts. 118, 120-121.

                       First, as acknowledged by Your Honor, Defendants confirmed the deposition of
        non-party witness Catherine Patsos in their November 11, 2020 letter to the Court. See Dkts.
        108, 119. On November 24, 2020, Ms. Patsos appeared for her deposition and Plaintiff’s counsel
        was afforded the seven hours allowed under the Federal Rules to question Ms. Patsos.

                        Next, with respect to Plaintiff’s application for a cease and desist order,
        Defendants are unaware of any investigation by the New York City Department of Investigation
        (“DOI”), as these investigations are strictly confidential. In fact, Defendants first learned that
        DOI had contacted Plaintiff only after Plaintiff’s counsel copied Defendants in her response to
        their outreach. See Dkt. 120-1. From the email forwarded by Plaintiff’s counsel, it appears that
        DOI contacted Plaintiff regarding correspondence Plaintiff submitted to the Office of the
        Inspector General for the New York State Unified Court System in January 2020, long after she
        commenced the current litigation. Defendants have no knowledge of the contents of this
        correspondence, and, other than Plaintiff’s October 29, 2020 filing directed to Judge Cronan (see
        Dkt. 103), Defendants are unaware of any other correspondence or complaints generated by
        Plaintiff or her counsel.
                That being said, Defendants dispute Plaintiff’s claim that the parties have met and
conferred regarding the production of DOI materials. After a review of Plaintiff’s document
requests and all correspondence between counsels, I can find no document or communication,
other than the email mentioned above, where Plaintiff even seeks materials from DOI, much less
request a meet and confer for their production. At this point, it is unclear how any purported
DOI investigation is relevant to the claims and defenses in this litigation. And, arguably,
materials related to any ongoing investigation by DOI would be protected from disclosure
pursuant to the law enforcement privilege. In any event, without a further showing, Defendants
object to the production of materials related to any DOI investigation involving Plaintiff and
request that the Court deny Plaintiff’s application.

              Likewise, Defendants object to the production of records from the Board of
Correction. Again, it is unclear how any purported complaints by Plaintiff, submitted long after
she commenced the current litigation, pertain to the claims and defenses in this action.
Consequently, unless Plaintiff can establish how these records are germane to this litigation,
Defendants urge the Court to deny Plaintiff’s application.


                                                            Respectfully submitted,

                                                                   ECF /s/

                                                            Donna A. Canfield
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cc:    Special Hagan (by ECF)




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